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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Senior Judge John L. Kane


Date: June 13, 2018                                    Deputy Clerk: Bernique Abiakam
                                                       Court Reporter: Terri Lindblom
Interpreters: Hasmik Jorgensen
              Yuliya Fedasenka

Criminal Action No.:12-cr-00033-JLK-1

UNITED STATES OF AMERICA,                              Gregory A. Holloway
                                                       Julia K. Martinez

      Plaintiff,

v.

1.    JAMSHID MUHTOROV,                                Kathryn J. Stimson
                                                       Brian R. Leedy
                                                       Warren R. Williamson

      Defendant.


                                   COURTROOM MINUTES

Jury Trial Day 15

9:00 a.m.       Court in session.

Court calls case. Appearances of counsel. Defendant present, in custody. Also
present, Special Agent Ken Harris.

Jury not present.

Interpreters sworn.

Discussion regarding exhibits and corrections to minutes (6/12/18).

9:06 a.m.       Court in recess.

9:13 a.m.       Court in session.

Jury present.

9:15 a.m.       Jury Instructions read by the Court.

10:14 a.m.      Court in recess.

10:36 a.m.      Court in session.
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Jury Trial Day 15
June 13, 2018


The Court clarifies an error in Jury Instruction No. 20.

The Court advises the Jury regarding the remaining trial schedule.

10:40 a.m.          Closing argument begins by Ms. Martinez.

ORDERED: The Clerk’s Office is directed to provide lunch for the 16 Jurors (12
         plus 4 alternates) in this case.

12:18 p.m.          Court in recess.

1:37 p.m.           Court in session.

Jury present.

1:38 p.m.           Closing argument begins by Mr. Leedy.

2:42 p.m.           Rebuttal argument by Mr. Holloway.

3:22 p.m.           Alternates disclosed.

3:23 p.m.           CSO sworn.

Further instruction by the Court.

3:26 p.m.           Jury excused to begin deliberations.

3:27 p.m.     Court in recess.
Trial continued.
Time in court - 4 hours, 39 minutes.

The Jury recessed deliberations at 4:00 p.m. The Jury tendered a “Jury Note” stating
that deliberations will resume tomorrow morning at 9:00 a.m.




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